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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term
Grand Jury Sworn in on September 15, 2022
UNITED STATES OF AMERICA : CRIMINAL NO.

v. MAGISTRATE NO. 22-mj-194

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BOBBY WAYNE RUSSELL, : VIOLATIONS:
: 18U.S.C. § L11(a)()
Defendant. :  (Assaulting, Resisting, or Impeding
: Certain Officers)
: 18U.S.C. § 231(a)(3)
: (Civil Disorder)
18 U.S.C. § 1752(a)(1)
(Entering and Remaining in a Restricted |
Building or Grounds)
: 18U.S.C. § 1752(a)(2)
: (Disorderly and Disruptive Conduct in a
: Restricted Building or Grounds)
: 18U.S.C. § 1752(a)(4)
: (Engaging in Physical Violence in a
: Restricted Building or Grounds)
: 400U.S.C. § 5104(e)(2)(F)
: (Act of Physical Violence in the Capitol
: Grounds or Buildings)

INDICTMENT
The Grand Jury charges that:
COUNT 1
On or about January 6, 2021, within the District of Columbia, BOBBY WAYNE
RUSSELL, did forcibly assault, resist, oppose, impede, intimidate, and interfere with an officer
and employee of the United States, and of any branch of the United States Government (including

any member of the uniformed services), and any person assisting such an officer and employee,

that is, M.T., an officer for the Metropolitan Police Department, while M.T. was engaged in and
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on account of the performance of official duties, and where the acts in violation of this section
involve physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT 2
On or about January 6, 2021, within the District of Columbia, BOBBY WAYNE
RUSSELL, committed and attempted to commit an act to obstruct, impede, and interfere with a
law enforcement officer, that is, M.T., an officer for the Metropolitan Police Department, who was
lawfully engaged in the lawful performance of her official duties incident to and during the
commission of a civil disorder which in any way and degree obstructed, delayed, and adversely
affected commerce and the movement of any article and commodity in commerce and the conduct
and performance of any federally protected function.
(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)())
COUNT 3
On or about January 6, 2021, within the District of Columbia, BOBBY WAYNE
RUSSELL, committed and attempted to commit an act to obstruct, impede, and interfere with law
enforcement officers, that is, J.B., an officer for the Prince George’s County Police Department
and other officers with them Prince George’s and Metropolitan Police Department known and
unknown to the grand jury, who were lawfully engaged in the lawful performance of their official
duties incident to and during the commission of a civil disorder which in any way and degree
obstructed, delayed, and adversely affected commerce and the movement of any article and
commodity in commerce and the conduct and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))
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COUNT 4
On or about January 6, 2021, within the District of Columbia, BOBBY WAYNE
RUSSELL, did knowingly enter and remain in a restricted building and grounds, that is, any
posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President was and would be temporarily visiting, without lawful authority
to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT 5

On or about January 6, 2021, within the District of Columbia, BOBBY WAYNE
RUSSELL, did knowingly, and with intent to impede and disrupt the orderly conduct of
Government business and official functions, engage in disorderly and disruptive conduct in and
within such proximity to a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
was and would be temporarily visiting, when and so that such conduct did in fact impede and
disrupt the orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT 6
On or about January 6, 2021, within the District of Columbia, BOBBY WAYNE
RUSSELL, did knowingly engage in any act of physical violence against any person and property

in a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
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within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4))

COUNT 7
On or about January 6, 2021, within the District of Columbia, BOBBY WAYNE
RUSSELL, willfully and knowingly engaged in an act of physical violence within the United
States Capitol Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

A TRUE BILL:

FOREPERSON.

Vitter? Grane

Attorney of the United States in
and for the District of Columbia.
